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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        STEVEN HELDT,
                                   7                                                        Case No. 15-cv-01696-YGR
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER DENYING MOTION TO DISMISS AND
                                   9                                                        MOTION TO STRIKE COMPLAINT AS MOOT
                                        TATA CONSULTANCY SERVICES, LTD.,
                                  10                                                        Re: Dkt. Nos. 21, 26
                                                       Defendant.
                                  11

                                  12
Northern District of California




                                              Now pending before the Court is defendant Tata Consultancy Services, Ltd.’s motion to
 United States District Court




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                                       dismiss counts I and II of plaintiff’s complaint (Dkt. No. 21) and motion to strike plaintiff’s
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                                       complaint (Dkt. No. 26) filed on June 15, 2015. On July 6, 2015, plaintiff responded to these
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                                       motions and filed an amended complaint. (Dkt. Nos. 39, 40, 41.) Accordingly, the pending
                                  16
                                       motions to dismiss and to strike the complaint are DENIED as moot.
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                                              This order terminates Docket Nos. 21, 26.
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                                              IT IS SO ORDERED.
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                                       Dated: July 9, 2015
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                                                                                       ______________________________________
                                  21                                                         YVONNE GONZALEZ ROGERS
                                                                                        UNITED STATES DISTRICT COURT JUDGE
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